       Case: 3:19-cv-00133-NBB-RP Doc #: 33 Filed: 09/25/19 1 of 5 PageID #: 551




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF
                           MISSISSIPPI, OXFORD DIVISION

CLAUDIA LINARES as spouse of ISMAEL LOPEZ,
Deceased, and Edward T. Autry as Administrator of
the Estate of Ismael Lopez, Deceased                                                PLAINTIFFS


vs.                                                                     NO. 3:19cv133-NBB-RP


CITY OF SOUTHAVEN, STEVE PIRTLE, in his official capacity
as Chief of Police of the Southaven Police Department, OFFICER
SAMUEL MAZE, Individually and in his official capacity as a Southaven
Police Officer,OFFICER ZACHARY DURDEN, Individually and in his
official capacity as a Southaven Police Officer, and JOHN DOES 1-25   DEFENDANTS


      BRIEF IN SUPPORT OF CITY OF SOUTHAVEN RESPONSE TO MOTION FOR
              EXTENSION OF TIME TO SERVE FORMER SOUTHAVEN
                       POLICE CHIEF STEVE PIRTLE


                                         A. Facts

        1. The Complaint at docket #1 was filed on June 19, 2019 for alleged events in Southaven,

Mississippi twenty-three months earlier on July 27, 2017. Named Defendants include the City of

Southaven, Mississippi and others listed Zachary Durden, Samuel Maze, and Steve Pirtle. All

named persons are former City employees with only Samuel Maze still an employee as of the filing

of the Complaint. Plaintiffs were well aware that Steve Pirtle was not a Southaven employee when

the Complaint was filed on June 19, 2019 and that he retired June 15, 2019. See Motion Exhibit A.

Despite same the summons prepared by Plaintiffs issued July 29, 2019 for Steve Pirtle used the

City’s police department address.

        2. The summons for Steve Pirtle was not presented at the time of the filing of the Complaint
         Case: 3:19-cv-00133-NBB-RP Doc #: 33 Filed: 09/25/19 2 of 5 PageID #: 552



despite L. U. Civ. R. 4 (a) that states”It is the responsibility of the plaintiff in each original case filed

to prepare the summons to be served on each defendant and to present the process to the clerk of

the court at the time of the filing of the original complaint. The signed process with seal affixed will

then be returned to the attorney for service.” The summons was then presented about a month later

by Plaintiffs on July 12, 2019 as reflected at docket #2. The summons was first issued for Steve

Pirtle at the address of the Southaven Police Department on July 12, 2019. Plaintiffs’ Motion docket

# 29-1 at page ID #524 reflects the first attempt to serve Steve Pirtle was on August 14, 2019 or a

month after the process was returned to Plaintiffs’ counsel and two months after the lawsuit was

filed.

          3. On August 13, 2019 the court clerk entered a Notice at docket # 4 of incomplete process

on Steve Pirtle. This notice predated Plaintiffs’ first attempt to serve Steve Pirtle as shown by

Motion docket # 29-1 at page ID #524.

          4. The clerk issued another notice of incomplete process as to Steve Pirtle on September 16,

2019 at docket #22. The significance of the second notice is it again alerted Plaintiffs that the 90

days to serve Steve Pirtle were about to expire. The 90 days to serve expired September 18, 2019

or two days after the clerk’s second notice of incomplete process as to Steve Pirtle.

          5. Plaintiff’s present Motion was filed untimely and in violation of the 90 days time period

to serve or file for an extension and in disregard of the Clerk’s second notice at docket #22. The

Motion was filed on September 24, 2019 at docket# 29. Plaintiffs’ did not file the Motion for

additional time to serve Steve Pirtle within the 90 days allowed despite the clerk’s second

notice. The Motion is untimely.

          6. Plaintiffs were well aware that time for service of process for Steve Pirtle had expired or

was soon expiring. See Exhibit B communications of August 23, 2019 indicating awareness that
     Case: 3:19-cv-00133-NBB-RP Doc #: 33 Filed: 09/25/19 3 of 5 PageID #: 553



Plaintiff had limited or no time left to serve Steve Pirtle. Despite that admitted awareness by

Plaintiffs on August 23, 2019, the Motion for Extension of Time was not filed until a month later

and a week after the deadline for service of process on Steve Pirtle.

       7. Docket #29-1 indicates the last attempted service on Steve Pirtle was on September 4,

2019 or 13 days before the 90 days to serve him expired. Despite the Clerk’s second notice of

incomplete service as to Steve Pirtle on September 22, 2019, there was no additional effort at

service as to Steve Pirtle after September 4, 2019.

                                         B. Authority

       F. R. Civ. P. 4 (m) defines the time limit for service of process as “90 days after the complaint

is filed.” Plaintiffs began service efforts for Steve Pirtle two months into a three month time frame.

Plaintiffs attempted service of process on Defendant Steve Pirtle by attempting delivery to an

address that no person has sworn is his residence or even testimony as to why the address is believed

to have been his residence or last known residence.

       Plaintiffs’ have the burden of showing good cause for their failure to timely serve process.

“Proof of good cause requires ‘at least as much as would be required to show excusable neglect, as

to which simple inadvertence or mistake of counsel or ignorance of the rules usually does not

suffice.’”Thrasher v. City of Amarillo, 709 F. 3d 509, *511 (5th Cir. 2013)(citing Winters v.

Teledyne Movible Offshore, Inc., 776 F. 2d 1304, 1306 (5th Cir. 1985).“Additionally, some ‘showing

of good faith on the part of the party seeking an enlargement and some reasonable basis for

noncompliance within the time specified is normally required.’” Id. Thrasher v. City of Amarillo,

709 F. 3d 509, *511 (5th Cir. 2013). In accord see also Tootle v. Dawson, 2017 WL 6403034, *2

 (S.D. Miss. Sept. 11, 2017). This is the burden of Plaintiffs even after the most recent rule

amendment. August v. Brinkhaus, 2018 WL 5662752, *3 (M.D. La. Oct. 10, 2018). Plaintiffs herein
     Case: 3:19-cv-00133-NBB-RP Doc #: 33 Filed: 09/25/19 4 of 5 PageID #: 554



had the responsibility for timely service of process and a timely motion to extend time to serve and

failed to do either. Plaintiffs have not met their affirmative burden of “proving good cause for failure

to effect timely service. Lewis v. Fisher, 2019 WL 4015889, *2 (N.D. Miss. Aug. 26, 2019)(applying

the 90 day rule).

       Southaven objects to additional time to serve Steve Pirtle as Plaintiffs have not demonstrated

the required criteria for any time extension. When the Complaint was filed Plaintiffs were fully

aware that Chief Pirtle had retired over a month before and was no longer the Southaven Police

Chief. Exhibit A and B to the City’s Response reflect such knowledge and negate the argument in

paragraph 3 of the Plaintiff’s Motion. Plaintiffs knew when suit was filed that Steve Pirtle was “no

longer employed by the City of Southaven.” Contrary to the same paragraph are statements in

Exhibit B by Plaintiffs’ counsel that is was then known, nearly a month before the 90 days to serve

expired, that unserved Defendants, then only Samuel Maze and Steve Pirtle were unserved, had left

the Southaven area. The record is not sufficient to justify any time extension to serve Steve Pirtle.


                                        C. Conclusion

       Plaintiffs were a month derelict in their responsibility under L. U. Civ. R. 4 (a) in providing

the summons for issuance. Plaintiffs were derelict in their responsibility to serve Steve Pirtle in

the 90 days provided by F. R. Civ. P. 4 (m) as the first attempt to serve him was on August 14, 2019

or a month after the process was returned to Plaintiffs’ counsel and two months after the lawsuit was

filed. This first attempt was made only after the Clerk’s first notice of incomplete service on August

13, 2019 reflected at docket #4. Plaintiffs were derelict in not timely filing the Motion for extension

of time to serve Steve Pirtle. This is especially compelling in light of the admission of awareness

of August 23, 2019 before the September 18 2019 deadline to serve Steve Pirtle shown by Motion

Exhibit B that the deadline was past or almost past plus the Clerk’s second notice of incomplete
      Case: 3:19-cv-00133-NBB-RP Doc #: 33 Filed: 09/25/19 5 of 5 PageID #: 555



service given prior to the September 18, 2019 deadline to serve. Docket # 29-1 establishes there was

no effort to serve Steve Pirtle in the last two weeks of the 90 day time frame to serve. This record

alone reflects that of the 90 days allowed to serve that the first effort was not made until August 14,

2019 or two months after the Complaint was filed and no efforts were made in the last two weeks

of the 90 day time frame. Plaintiffs’ own record reflects no efforts at all were even attempted for 68

days of the 90 days time frame allowed for service. Plaintiffs efforts span one 22 day time frame with

no record of why the other 68 days were not utilized. Plaintiffs’ fail their burden needed to support

the request made of this Court. The use of discretion is available but the record of dereliction by

Plaintiffs supports that available discretion on the involved issues be restrained and the Motion

denied in toto.

                                         Respectfully submitted, this the 25th day of September, 2019.

                                                 /s/ Katherine S. Kerby
                                                 Katherine S. Kerby, MSB # 3584
                                                 Attorney for the City of Southaven, Mississippi,
                                                 Defendant
Of Counsel:
Kerby Law Firm
Post Office Box 551,Columbus, MS 39703
email: ksearcyk@bellsouth.net
fax: 662-328-9553
phone: 662-889-3733

                                  CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using the ECF

system which sent notification of such filing to all Counsel of record including the following:

                Michael Carr, Esq., Murray B. Wells, Esq., Aaron A. Neglia, Esq.

        SO CERTIFIED, this the 25th day of September, 2019

                                                         s/ Katherine S. Kerby
                                                         KATHERINE S. KERBY
